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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr268
                                     )   Hon. Carl J. Nichols
JEFFREY McKELLOP,                    )
      Defendant.                     )
____________________________________)

                  MOTION TO RESCHEDULE STATUS CONFERENCE

       Comes now Defendant Jeffrey McKellop, by counsel, and moves the Court to reschedule

the Status Conference set for September 8, 2022 by Zoom at 3:00 pm.

       Undersigned regrets having forgotten during the hearing on the 25 th that he is scheduled

on September 8th to be before the Hon. Trevor McFadden in the matter of United States v.

Morss, DDC 21cr40. Undersigned shall be available at any time during the weeks of September

19th and the 26th. Undersigned has been unable to determine the government’s availability.

                                                      Respectfully submitted,

                                                      JEFFREY McKELLOP
                                                      By Counsel
                                                      _____/s/____________
                                                      John C. Kiyonaga
                                                      600 Cameron Street
                                                      Alexandria, Virginia 22314
                                                      Telephone: (703) 739-0009
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                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on July 25, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties
                                                       ____/s/_____________
                                                       John C. Kiyonaga



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